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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
IN RE:                                             CASE: A17-51537-BEM

ADRIAN STAFFORD VERWAYNE                                             CHAPTER 13


Debtor

             Trustee's Motion to Dismiss Case for Failure to Make Plan Payments
   COMES NOW Mary Ida Townson, Standing Chapter 13 Trustee herein, and files this her
Motion to Dismiss Case for Failure to Make Plan Payments, respectfully showing the Court the
following.
                                              1.
   The Debtor filed for relief under Chapter 13 of Title 11 on January 27, 2017.
                                              2.
   The Debtor has failed to comply with the terms of the confirmed plan. As of November 13, 2017,
the Debtor should have paid $19,531.00. The Debtor has paid a total of $13,752.91, causing a
delinquency of $5,778.09.
                                              3.
   The Debtor's case will extend longer than sixty (60) months, contrary to 11. U.S.C. § 1322(d).


   WHEREFORE, the Chapter 13 Trustee requests this case be dismissed.

Dated: November 17, 2017                           Respectfully submitted,

                                                   _/s/___________________________
                                                   Albert C. Guthrie, Attorney
                                                   for the Chapter 13 Trustee
                                                   GA Bar No. 142399
                                                   191 Peachtree Street, Suite 2200
                                                   Atlanta, GA 30303
                                                   (404) 525-1110
                                                   albertg@atlch13tt.com

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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION
IN RE:                                                CASE: A17-51537-BEM

ADRIAN STAFFORD VERWAYNE                                                  CHAPTER 13


Debtor

Notice of Hearing on Trustee's Motion to Dismiss Case for Failure to Make Plan Payments

    PLEASE TAKE NOTE that the Chapter 13 Trustee has filed a Motion to Dismiss Case for Failure
to Make Plan Payments and related exhibits with the Court seeking an order of dismissal.
    PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on January 09, 2018 at
1:15 PM in Courtroom 1402, Richard Russell Building, 75 Ted Turner Drive, SW, Atlanta,
GA, 30303.
    Your rights may be affected by the Court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one). If you do not want the Court to grant the relief
sought in these pleadings or if you want the Court to consider your views, then you and /or your attorney
must attend the hearing. You may also file a written response to the pleading with the Clerk at the
address stated below, but you are not required to do so. If you file a written response, you must attach a
certificate stating when, how and on whom (including address) you served the response. Mail or deliver
your response so that it is received by the Clerk at least two (2) business days before the hearing. The
address of the Clerk’s Office is Clerk, U.S. Bankruptcy Court, Richard Russell Building, 75 Ted
Turner Drive, SW, Atlanta, GA, 30303.           You must also mail a copy of your response to the
undersigned at the address stated below.

Dated: November 17, 2017                             Respectfully submitted,

                                                     _/s/___________________________
                                                     Albert C. Guthrie, Attorney
                                                     for the Chapter 13 Trustee
                                                     GA Bar No. 142399
                                                     191 Peachtree Street, Suite 2200
                                                     Atlanta, GA 30303
                                                     (404) 525-1110
                                                     albertg@atlch13tt.com


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                                CERTIFICATE OF SERVICE

   This is to certify that I have this day served the following with a copy of the foregoing pleading by
depositing same in the United States Mail a copy of same in a properly addressed envelope with
adequate postage thereon.

ADRIAN STAFFORD VERWAYNE
130 WYNFIELD WAY
ATLANTA, GA 30331

KING & KING LAW LLC
215 Pryor Street
Atlanta, GA 30303

Dated: November 17, 2017                         Respectfully submitted,


                                                 /s/_______________________________
                                                 Albert C. Guthrie, Attorney
                                                 for the Chapter 13 Trustee
                                                 GA Bar No. 142399
                                                 191 Peachtree Street, Suite 2200
                                                 Atlanta, GA 30303
                                                 (404) 525-1110
                                                 albertg@atlch13tt.com




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